    Case 1:18-cv-00021-JMS-WRP Document 1-10 FiledDo01/12/18                       Page 1 of 11 PageID #:
                                                                  Not Write in this^^Mce
                                                    83          OFFICIAL USB 0'>^Y
397726            STATE OF HAWAII- DEPARTMENT OF PUBLIC SAFETY Date Receivednl^^
                         ADMINISTRATIVE REMEDY FORM| ^| Date Logged:                        c.yHu5ir
(This Control No. Must                                                                                                Date Retumed>^/
Accompany All Appeals)                                                                                                Response Dtie:
                                                                                                     0^
 NAME:                                    J01V4 DAhi<r::AL^Q ss'                      SID: -Ao2-US'^&'6
 HOUSING:                                           ^ K                               CONTROL NO: Step .^ ^                         ^
                     Facility          ModuleAJnit/Block/Cell                                           Step

 TO:(Step)- 1.                 Section supervisor/Inmate Grievance Specialist
            2.                 Appeal Branch/Core Program Administrator/Inmate Grievance Specialist
                3-             Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist
 I attempted to solve this problem through informal discussion with:                                                 on
 Resolution could not be obtained because:
 Subject cannot be resolved informally because:
 Attachments included:(Loner Slq) I; Step 2; Misconduct & Hairing(DOC-8210A); Misconduct Report(DOC-8210)

 STATEMENT OF COMPLAINT/GRIEVANCE:
      Tltg Af-             U-Wel-s-i                                    fCt-oysitc-                         ^ fva 1 1^

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 RES0,h1tI0N SOUGHT:                                                      '* SA^re. order rece.p+s
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                       .      yV-^" ■>v                                               I W>,\3 ToV*,dl          '                '
                                                                                  q>z(^> n
 INMATE SIGNATURE                                                                     DATE


 RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)
         The following is in response to your step III grievance tqjpeal. We are unable to process reimbursement costs
         using the facility grievance process. Records indicate that you have already submitted a state tort claim and the
         facility has completed its portion as well. You will have to await the final outcome from the state tort claim
        ^ office regarding the status of your claim. I'm attaching a copy of your signed property receipt from WCF dated
        *7/27/17. Your grievance is denied.

         In accordance with P&P COR. 12.03.10.6, this decision is final and the ultimate recourse available within the
    - —administrativeremedyprocess.--—r—• •                        *      ■   ■ - ^                                   •;   j"              •'




 SIGNATURE OFRESPONDENT^I-I^I                                                 J
                                                                                    \'y'''V-Ufiiiy]( hvMw/ " II -la-fiT"            DATE

 Appeals must be filed within five (5) calendar days upon receipt. Signed & dated ROAs must be rerf                >tep 3 responses are final.

 INMATE ACKNOWLEDGED RESPONSE                                                 DATE

 WHITE/File       CANARY/Inmate Answer              PINK/Rcspondent           GOLD/lnmate Receipt       "           PSD 8215 (rev. 10.'20I5)
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 2 of 11                                    PageID #:
                                     84
                                                                        INMATE'S NAME:


                                                                        Quintin Gehn Dagirbaud
                                                                        INMATE'S SID:


                                                                        A0265488
   DEPARTMENT OF PUBLIC SAFETY
                                                                        HOUSING MOVEMENT FROM/TO:
 ADMINISTRATIVE SEGREGATION FORM
              PART A                                                    Building 98 to Cell#2
               REASON(S)FOR PLACEMENT IN ADMINISTRATIVE SEGREGATION (PART A)
                               TO BE COMPLETED BY WATCH COMMANDER OR HIGHER AUTHORITY


CHECK ALL THAT APPLY:

n INMATE PRESENTS AN IMMEDIATE THREAT TO SAFETY OF SELF OR OTHERS
n INMATE JEOPARDIZES INTEGRITY OF INVESTIGATION OF ALLEGED SERIOUS MISCONDUCT
    OR CRIMINAL ACTIVITY


lEI INMATE ENDANGERS INSTITUTIONAL SECURITY
n OTHER
DESCRIPTION OR CIRCUMSTANCES WHICH SUPPORT THE REASON(S)FOR PLACEMENT:

13.03 4.0.3. 3.7(9) Possession, introduction, manufacturing or use of any narcotic
paraphernalia, drugs, intoxicants, synthetic drug composition or alcoholic beverage not
prescribed for the individual by medical staff, which includes any form of being intoxicated.
13.03 4.0.3. a.7(15) Possession, introduction, or use of any tobacco/nicotine,
tobacco/nicotine product, or tobacco/nicotine paraphernalia. Ths does not apply to inmates
in a community based furlough program, unless the incident resulted in an arrest on a
criminal offense/charge.

Inmate Dagirbaud was allegedly in possession of contraband (a brown leafy substance). The
item was found in his assigned footlocker

This charge carries a maximum sentence 30 days


 I I CONTINUED ON ATTACHED PAGE EH IF BASED ON CONFIDENTIAL INFORMATION, DATE INMATE NOTIFIED.
 DATE OF PLACEMENT:             PRINT NAME AND TITLE OF AUTHORIZING          SIGNATURE OF AUTHORIZING PERSON:
                                PERSON:

7-27-17                         Lieutenant A. Monteilh                                      V       0
 DATE AND TIME NOTICE SERVED    PRINT NAME AND TITLE OF STAFF SERVING        SIGNATURE OF STAFF SERVING PLACEMENT
 ON INMATE:                     PLACEMENT NOTICE:

i-mi                   HOURS
                                       SIGNATURE AND DATE:                   □ INMATE REFUSED TO SIGN. THE STAFF
                                                                                MEMBER SERVING THE FORM WITNESSED
                                                                                THE REFUSAL AND PROVIDED THE INMATE
                                                                                A COPY THIS FORM.




 DISTRIBUTION: INMATE, INSTITUTIONAL FILE, SEG UNIT, FACIUTY HCU CUNICAL SECTION ADMINISTRATOR, COS, CS l/ll

 PSD 8226 (May 2014)
          Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page
state of Hawaii                                                        3 of 11 of
                                                                   Department   PageID
                                                                                  Public#:Safety
                                               85
                                                E:imr 3:-^
                                   HALAWA CORRECTIONAL FACILITY

                                         RESPONSE TO INMATE



             Control #:.
             Name of InmatR:       D'AGIRBAUD. Quintin
             Rim-      A0265488                             HOUSING I IMIT HMSF Holding Unit
             Date letter initiated: 07/^8/17
             Letter addressed       Acting Warden Harrington
             Date letter recelved:__07/3l/l7



             DISPOSITION:

             Mr. D'agirbaud:
            Your letter addressed to Acting Halawa Warden, Scott Harrington dated July 28, 2017 was forwarded
            to my office for response.
             Your misconduct issue will be addressed by WCF staff. Regarding property, you need to submit an
            inter-unit request via your assigned CM and Unit Manager regarding transferring. Since you are in the
            Holding Unit, there are limitations on what property you are authorized to have in your possession based
            on your housing status. The housing Sgt. will let you know what items you can keep. You need to learn
             how to be brief when you write!!




             c: HFW,UM Chun, CM Niesen, HU Sgt.




             staffMember            ^      Title                     Dat^ /
             Dovie Borges
             White - Inmate's Response     Canary - Institutional File   Pink - Respondent Copy
             DOC 3151 (7/02)
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 4 of 11                                                PageID #:
                                     86
                                              E/rtiB/r T'3
                                                                        INMATE'S NAME:


                                                                          Dagirbaud, Quintin
                                                                        INMATE'S SID:



                                                                                A0265488
        DEPARTMENT OF PUBLIC SAFETY                                     CURREITT HOUSING:
    ADMINISTRATIVE SEGREGATION FORM
                                                                            SHU-MED
                              PARTC

                                   PROGRAM COMMITTEE REVIEW(PART 0)
                          THE FOLLOWING IS TO BE COMPLETED DURING THE ADMINISTRATIVE REVIEW BY
                   THE PROGRAM COMMITTEE ON THE FIFTEENTH(15^") DAY FOLLOWING SEGREGATION PLACEMENT

   INMATE WAIVERS:                                          INMATE SIGNATURE                           DATETriME:

   G INMATE WAIVES OR DECLINES TO BE PRESENT AT PROGRAM
      COMMITTEE REVIEW

   □ NOWITNESS(ES) REQUESTED BY INMATE

                               WITNESSES REQUESTED FOR PROGRAM COMMITTEE
   WITNESS NAME AND SID:                                    WITNESS NAME & SID:



   WITNESS NAME AND SID:                                    WITNESS NAME & SID;



   PROGRAM COMMITTEE MEMBER OR MEMBERS (LIST NAME, TITLE, AND IDENTIFY THE CHAIRPERSON):
    M. Chun, UTM
    M. Owens, CM


   DECISION: □ RELEASE TO                   Q MAINTAIN SEG HOUSING SUBJECT TO NEXT SCHEDULED REVIEW
                                (HOUSING)   □ MUST BE HOUSED IN A SINGLE CELL
   REASON FOR DECISION (IF NECESSARY, ATTACH ADDITIONAL PAGES):



      Housing Issues
     Maintain housing in Ad. Seg.




   PRINT NAME OF CHAIRPERSON:                                SIGNATURE OF CHAIRPERSON:

                                                                                                 DATE/TIME:
                                                                                                              /F/n
      M. Chun, UTM
                                                             SIGNATURE OF STAFFSERVING RESULTS:
    PRINT NAME AND TITLE OF STAFF SERVING RESULTS:
                                                                                                 DATE/TIME:
       M. Chun, UTM
    INMATE SIGNATURE AND DATE/TIME                           □ INMATE REFUSED TO SIGN. THE STAFF MEMBER
                                                               SERVING THE FORM WITNESSED THE REFUSAL AND
                                   DATE/TIME:
                                                i/irln
                                                     /
                                                                PROVIDED THE INMATE A COPY THIS FORM.



    DISTRIBUTION: INMATE. INSTITUTIONAL FILE. SEG UNIT. FACILITY HCU CLINICAL SECTION ADMINISTRATOR. COS. CSI/II
    PSD 8226 (5/2014)
        Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 5 of 11                     PageID #:
                                             87
A0265488 ; DAGIRBAUD, QUINTIN GEHN                                                Receipt#36143
Location: WCFW9A
WCF
                         , —. " iiiiiiiiii»'-»
 Code       Location
                         //»-
                         Qty   Product
                                                                     Invoice :424:waiawaHI-431

                                                                                              1Price    Ext

 4528          3-D-4-     1    BIG ROUND STIC BALLPOINT PEN BLACK                             0.15     0.15

 4564          4-B-1-     1    WRITING PAD WHITE 8 1/2" X 11"                                 1.10     1.10

 5015          4-E-2-     1    SUAVE SHAMPOO CLARIFYING CLEAR                                 2.55     2.55

 5707          5-C-5-     1    SOAP DISH                                                      0.50     0.50


 5729          5-C-8-     1    POCKET COMB 5" BLK                                             0.20     0.20

                               OUCHLESS PONYTAIL HOLDERS BLACK                                 1.20    1.20
 5744          5-D-4-     1
                               18 CT
 5352          6-B-2-     1    FLOSS PICK                                                      1.85    1.85


 5335          6-C-6-     1    MEDIUM TOOTHBRUSH                                               1.50    1.50

                               GOOD SENSE COUGH DROPS CHERRY                                   1.55    1.55
 5441          6-D-4-     1
                                                                                               1.05    4.20
 5104          7-C-4-     4    PURE ANTIBACTERIAL WHITE SOAP BAR
                               SECRET SOLID AP/DEO WIDE POWDER                                 3.20    3.20
 5145          7-E-3-     1
                               FRESH SCENT
                                                                                                       2.55
 6103           8-A-2-    1    HAWAIIAN PUNCH S/F GREEN BERRY                                  2.55

                               RUSH SINGLES
                                                                                               2.55    2.55
 6104           8-A-3-    1    HAWAIIAN PUNCH S/F ORANGE OCEAN
                               SINGLES
                                                                                               1.95    1.95
 6150           8-D-1-    1    SUGAR SUBSTITUTE WITH ASPARTAME
                               (110 CT)
                                                                                               1.85    3.70
 6041           8-D-4-    2  FOOD EXPRESS NON DAIRY CREAMER
                                                                                               0.68    6.80
 7306          10-C-1-    10 FAMOUS AMOS CHOCOLATE CHIP
                               COOKIES
                                                                                               0.65    6.50
 6726          10-C-4-    10 STRAWBERRY TOAST EMS 2 PK
                                                        Limit - Pop Tarts 10 ; 2 not filled
                                                                                                3.75   7,50
 7099          10-D-5-    2     KAR'S SALTED MIXED NUTS WITH
                                PEANUTS
                                                                                                1.20   3.60
 7100          10-E-1-    3     KAR'S SRIRACHA PEANUTS
                                                                                                0.75    7.50
 7282          11-C-1-    10    COOKIES NUTTER BUTTER
                                                                                                0.30   0.60
 6059          11-C-3-    2     SWISS MISS HOT COCOA MIX SINGLE
                                                               Menu - WCF : 8 not filled
                                                                                                0.60    6.00
 6583          12-A-2-    10 SOUP POUCH SHRIMP RAMEN
                                                                                                0.60    6.00
 6581          12-A-6-    10 SOUP POUCH BEEF RAMEN
                                                                                                0.60    6.00
  6575         12-A-7-    10    SOUP POUCH SPICY BEEF RAMEN (H)
                                                                                                1.20    6.00
  7007         19-A-1-     5    DORITOS NACHO CHEESE
                                          Page 1 of 2
    Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 6 of 11 PageID #:
A0265488 ; DAGIRBAUD, QUINTIN GEHN       88                        Receipt #36143
Location: WCFW9A                                                                       I--/
WCF                                        7/20/2017

                                                                                                     Invoice #424

  Code                       Qty   Product                                                                Price     Ext


 7001           21-A-1-      6     CHEETOS CRUNCHY                                                        1.20     7.20

 7017           25-A-1-       5    PEPE'S HOT AND SPICY PORK RINDS                                        1.35     6.75

 7015           26-A-1-       3    SNYDER'S JALAPENO PRETZEL PIECES                                       0.95     2.85

                                                                         Limit - Nuts 10 : 2 not filled

 6350           37-A-1-       5    SPAM      SINGLE                                                       1.50     7.50

 4500           37-C-1-       1    FOREVER STAMP(BOOK OF 10)                                              4.90     4.90

 4378           38-A-1-       8    POWERMAX AAA BATTERY                                                   0.50     4.00

 4520            3-D-3-       0    ENVELOPE 9X12 CLASP MANILLA                                            0.21     0.00

                                                                           Menu - WCF : 2 not filled

 5774            5-B-6-       0    TRIM TWEEZERS SQUARE TIP                                               0.65     0.00
                                                                           Menu - WCF : 1 not filled

                 6-B-4-            COLGATE CLEAN MINT BAKING SODA                                         3.40     0.00
 5305                         0
                                   GEL TOOTHPASTE FROSTY MINT
                                                                           Menu - WCF : 1 not filled

                                                                                                          1.55     0.00
 5442            6-D-5-       0     GOOD SENSE COUGH DROPS HONEY
                                    LEMON
                                                                   Limit - Cough Drops : 1 not filled
                                                                                                          2.60     0.00
 6061            8-C-5-       0     BACK COUNTRY HOT COCOA SUPREME
                                                                      OUT OF STOCK ; 2 not filled
                                                                                                          0.55     0.00
 6318            8-D-1-       0     TEXAS TITO'S JALAPENO SLICES
                                                                          Menu - WCF : 10 not filled
                                                                                                          2.65     0.00
 6148            9-B-1-       0     FOOD EXPRESS SUGAR (CANISTER)
                                                                           Menu - WCF : 1 not filled
                                                                                                          2.25     0.00
  7013           9-G-4-       0     HARVEST ROAD MINI PRETZEL
                                                                         Limit - Nuts 10 : 2 not filled
                                                                                                          0.50      0.50
  4715           4-B-5-   * 1       DURALUX SPORK YELLOW
                                                     SubTotal: $118.95    SAVIN:       $4.76
 120 items           Shipped separately.                                                                         $147.47
                                                                                       Start Balance:
                                                                                       Resident Paid:            $123.71
Delivered By:                                Date:
                                                                                        End Balance:              $23.76


 Resident;                                       By signing. I authorize the deduction of funds from my account.
                                                 Once my store has been signed for I understand that all sales
                                                 are final. Menu is subject to change.




                                                 Page 2 of2
     Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 7 of 11                      PageID #:
                                          89



              Y)\                             STATE OF HAWAH
                                     DEPARTIvCENT OF PUBLIC SAFETY '                           !/
[-(ri-tnci)                                                                                   / ///
                                      NOTICE OF EXCESS PROPERTY                            /«c:. / /

         T ou are hereby given notice that you may keep only those articles which are allowed to be in your
         possession in accordance with, the polj^ and procedures of. this correctional center. You are
         responsible to see that ah arrangements are made to have the rest of your property (which shah
         include jewelry, luggage, excess clothes, etc.) sent or picked up by a friend or relative within
         miRTY (301 DAYS ofthis notice. You are responsible for any mailing costs. You must send a
         ymtten notice to the property officer which specifies to whom you wish the property sent or who
         will pick it up.

         It YOU wish to know the complete details of how your personal properly wili be protected while
         you are in custody, you may review the department policy and.this facflify's procedures on the
         subject. Unabridged copies of these policies and procedures are kept in the fecility library for
         your review.

         DEADLINE:


         Failure to comply by the de^linfe shall result in aU excess property presumerT abandoned and
         disposed of in accordance with Paragraph 4.2 of the Department of Public Safety Policy and
         Procedure Number 493.17,02.

         T have read or had read to me, this notice and I understand and will comply.


                                                                                                -- 7-
                                                                                                     DATE


          WITNESS:          ■           "                                             ^            ^          ^

                                                    ;                                   13S4 A^WAS

          SIGNATURE                                     DATE




              SIGNATURE                                 D ATE




              DOC 8256 (4/97)

                                            ORIGINAL TO INMATE
                                   COPY TO DESIGNATED PROPERTY OFFICER
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 8 of 11                                                    PageID #:
                                     90
                                              DEPARTMENT OF PUStlC SAFETY                                   E/Hl^fT T-C|
                                                 INMATE PROPERTY RECEIPT




 Facility.

 Inmate (Print).                                                                                          SID No.
                          inmaieB Natno (l^asi, hibi, m.i.)
                                                                ^                                    j.
    Qty/Amt        Itpm                                         Description                               Released To        Date


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     Inmates Signature                                                                                                  Date




                                                              Inmate Property Transfer
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 9 of 11                                                   PageID #:
                                     91
                                                      DEPARTMENT OF PatLIC SAFETY                          evU-lfiir     T-l■^
                                                          INMATE PROPERTY RECEIPT




 Facility.                                                                                                    Date.

 Inmate (Print)
        ^     ^
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                     inmates Nam» (Leat, nrsi, M,i.)                                                 SID



    Qty/Amt               Itpm                                        Description                    Released To             Date

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   Inmates Signature                                                                                                  Date




                                                                   Inmate Property Transfer

  Property Transferee! To-
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 10 of 11 PageID #:
                                      92                 OCl+lBiT J--\\

     DAVIDY.IGE                                                                            RODERICK K. BECKER
      QOVEBNOR                                                                                   Comptroller

                                                                                              AUDREY HIDANO
                                                                                              Deputy Comptroller



                                           STATE OF HAWAII
                       DEPARTMENT OF ACCOUNTING AND GENERAL SERVICES
                                      P.O. BOX 119, HONOLULU, HAWAII 96810-0119


                                             November 28, 2017


  Mr. Quintin-John D'Agirbaud, III
  99-902 Moanalua Road,4B3
  Aiea, Hawaii 96701

  Dear Mr. D'Agirbaud:

           SUBJECT:       Tort Claim - Incident dated: 07-27-17

           The investigation of your claim does not reveal any legal negligence on the part of the State
  of Hawaii or its employees.

           According to the department, store orders cannot be transferred between facilities. You
  were transferred to Halawa Correctional Facility prior to being placed in segregation.
          The law makes the State of Hawaii liable only for losses incurred as a result of the
  risgligcnce of its employees. The events do not appear to involve any negligent conduct on the part
  of any State employee, and therefore, your claim cannot be settled or paid under the State Tort
  Liability Act, Chapter 662, Hawaii Revised Statutes.

         While we are sincerely sorry for the expense and inconvenience caused by this unfortunate
 incident, we trust you will understand our obligation to accept only those claims for which the State
 of Hawaii is legally responsible.

          If you have any questions, please contact Ms. Maria Paet-Ugaitafa, Claims Management
 Specialist, at 586-0548.

                                                    Sincerely,



                                                    Tracy Kitaoka
                                                    Risk Management Officer
Case 1:18-cv-00021-JMS-WRP Document 1-10 Filed 01/12/18 Page 11 of 11                    PageID #:
                                      93
                                                                            E)(Hl6tT -^-(2-

                              REQUEST FOR SERVICE

     Inmate Name:                  D'AGIRBAUD. Ouintin               Number: A0265488

      Housing Location: SCC

      To


      Date


      Subject(State briefly the problem on which you need
      assistance)
      Note: If necessary, you may be interviewed in order to handle your request. Your failure
      to specifically state your problem may result in no action being taken.
                              DO NOT WRITE BELOW THIS LINE

      Referred To:                            By;                       Date: 11/29/17

      Disposition/Response:

      This is a response to your letter regarding returning you to Hawaii and PC. First you are
      not housed in PC you are in GP there at SCC. As for returning you to Hawaii. You had a
      misconduct at WCF for 7(9), you were found guilty. You were return from Arizona in
      2011. From 2011 until present you incurred 3 misconducts, disobeying an order,
      fighting, and drugs. You did this to yourself by getting misconducts.




                                                          iiMllv
      Scott Jinbo, Contraisi Monitor                         Date

      cc:    Records
